22-03006-hcm Doc#2 Filed 05/27/22 Entered 05/27/22 15:43:20 Stamped Summon Pg 1 of 2


                                                       U.S. Bankruptcy Court
                                                       Western District of Texas
    In re:
                                                                  Case No.21−30107−hcm
                                                                  Chapter No.11
    PDG PRESTIGE, INC.
    Debtor
                                                                  Adv. Proc. No.22−03006−hcm
    PDG PRESTIGE, INC.
    Plaintiff
    v.
    DENNIS CRIMMINS
    Defendant



                                                SUMMONS IN AN ADVERSARY PROCEEDING


     YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of
     the Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and
     agencies shall submit a motion or answer to the complaint within 35 days of issuance.



     Address of Clerk
                        Clerk, U.S. Bankruptcy Court
                        Western District of Texas
                        511 E. San Antonio Ave., Suite 444
                        El Paso, TX 79901



    At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.



     Name and Address of Plaintiff's Attorney
                     Jeff Carruth
                     Weycer Kaplan Pulaski & Zuber, P.C.
                     24 Greenway Plaza, #2050
                     Houston, TX 77046



    If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

    IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
    JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
    DEMANDED IN THE COMPLAINT.




                 Date Issued:
                 05/27/2022


                                                                             Barry D. Knight, Clerk Of Court
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 B2500A (Form 2500A) (12/15)



                                    CERTIFICATE OF SERVICE

       I,                                 (name), certify that service of this summons and a copy of
the complaint was made                             (date), which is within 7 days after the summons
was issued under Federal Rule of Bankruptcy Procedure 7004(e), by:


              Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
               to:


               Personal Service: By leaving the process with the defendant or with an officer or agent
                of defendant at:


               Residence Service: By leaving the process with the following adult at:


              Certified Mail Service on an Insured Depository Institution: By sending the process by
               certified mail addressed to the following officer of the defendant at:



              Publication: The defendant was served as follows: [Describe briefly]



               State Law: The defendant was served pursuant to the laws of the State of
                follows: [Describe briefly]                                                            , as




          If service was made by personal service, by residence service, or pursuant to state law, I further
 certify that I am, and at all times during the service of process was, not less than 18 years of age and
 not a party to the matter concerning which service of process was made.

        Under penalty of perjury, I declare that the foregoing is true and correct.


        Date                        Signature

                Print Name:

                Business Address:
